Case 2:04-cV-02759-SHI\/|-tmp Document 15 Filed 06/02/05 Page 1 of 2 Page|D 1_2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN DIVISION
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JAMES HULETT’ .o. or ii\i, simms
Plaintiff,
VS. NO_ 04-2759-Ma

JO ANNE B. BARNHART,
Commissioner of Social Security,

Defendant.

 

ORDER GRANTING MOTION TO ALTER OR AMEND

 

Before the court is defendant’S June l, 2005 motion to alter or amend this court’s May 13,
2005 order. The court notes that the order Was filed on May 16, 2005. For good cause shown, the
motion is granted and the order ofMay 16, 2005 is amended to reflect that the Appeals Council did
not agree to remand this case to a different Administrative Law Judge. ln all other respects the May
16, 2005 order is affirmed

lt is So ORDERED this 2 '& day ofJune, 2005.

MWM/me_

SAMUEL H. MAYS, JR.
UNTI`ED STATES DISTRICT JUDGE

 

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with Rul,a 58 and/or ?'B{a) FRCP on ___(.Q_-._.

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Honorable Samuel Mays
US DISTRICT COURT

